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                                                                6

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                                                                8                    UNITED STATES DISTRICT COURT
                                                                9                  CENTRAL DISTRICT OF CALIFORNIA
                                                               10                               EASTERN DIVISION
                                                               11 INTERIOR ELECTRIC                   Case No. 5:20-mc-00024-JGB-SP
MARQUIS AURBACH COFFING




                                                                  INCORPORATED NEVADA, a
                                                               12 Nevada corporation,                    DECLARATION IN SUPPORT OF
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                           MOVANT’S REQUEST FOR
                                                               13                           Movant,     ATTORNEY’S FEES RELATING TO
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14        vs.                            MOTION TO COMPEL [ECF NO. 1]
                                                               15 MELINDA BEVERLY; and
                                                                    SCHIFF & SHELTON,               Related to Action Pending in the U.S.
                                                               16 ATTORNEYS AT LAW,                 District Court for the District of Nevada,
                                                                                                    Interior Electric Incorporated Nevada v.
                                                               17                      Respondents. T.W.C. Construction, Inc. et al., Case No.
                                                                                                    2:18-cv-01118-JAD-VCF
                                                               18

                                                               19

                                                               20        Movant, Interior Electric Incorporated Nevada (“Movant”), by and
                                                               21 through its attorney of record, Chad F. Clement, Esq., of the law firm of

                                                               22 Marquis Aurbach Coffing, hereby submits its Declaration in Support of

                                                               23 Movant’s Request for Attorney’s Fees Relating to Motion to Compel [ECF No.

                                                               24 1] (“Declaration”), as invited by the Court in its Order Granting Motion to

                                                               25 Compel Compliance with Rule 45 Subpoena, dated December 7, 2020 [ECF

                                                               26 No. 10]. This Declaration is made and based upon the papers and pleadings on
                                                               27 file herein, the points and authorities below, including the sworn statements of

                                                               28 the undersigned, and any argument the Court wishes to entertain.
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                                                                1     DECLARATION OF CHAD F. CLEMENT, ESQ. IN SUPPORT OF
                                                                      MOVANT’S REQUEST FOR ATTORNEY’S FEES RELATING TO
                                                                2                    MOTION TO COMPEL
                                                                3        I, Chad F. Clement, Esq., declare, pursuant to 28 U.S.C. § 1746 and Cal.
                                                                4 Civ. Code § 2015.5, under penalty of perjury under the laws of the State of

                                                                5 California, that the following is true and correct:

                                                                6        1.     I am a Shareholder with the law firm of Marquis Aurbach Coffing
                                                                7 (“MAC”), duly licensed to practice law in the State of California, am over the

                                                                8 age of 18 years, and I have personal knowledge of the facts stated herein,

                                                                9 except for those stated upon information and belief, and as to those, I believe

                                                               10 them to be true. I am competent to testify as to the facts stated herein in a court

                                                               11 of law and will so testify if called upon.
MARQUIS AURBACH COFFING




                                                               12        2.     I am counsel for Movant Interior Electric Incorporated Nevada
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 (“Movant”) in the instant matter, and in the underlying matter to which this
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14 matter relates, Interior Electric Incorporated Nevada v. T.W.C. Construction,

                                                               15 Inc. et al., Case No. 2:18-cv-01118-JAD-VCF (D. Nev.) (the “Nevada

                                                               16 Action”).

                                                               17        3.     I make this Declaration in support of Movant’s request for
                                                               18 attorney’s fees relating to Movant’s Motion to Compel (“Motion”).

                                                               19        4.     I understand the Court is already familiar with the majority of the
                                                               20 procedural history in the instant dispute, giving rise to Movant’s Motion, and,

                                                               21 pursuant to Rule 10(c) of the Federal Rules of Civil Procedure (“FRCP”), I

                                                               22 incorporate the history outlined in the Motion [ECF No. 1], my prior

                                                               23 Declaration [ECF No. 1-2], and the Declaration of Collin M. Jayne, Esq. [ECF

                                                               24 No. 1-3], all on file herein.

                                                               25        5.     Additionally, since the Court entered its Order Granting Motion to
                                                               26 Compel Compliance with Rule 45 Subpoena, dated December 7, 2020 [ECF
                                                               27 No. 10], Respondents have continued their refusal to produce the attachments

                                                               28 to the emails between Nevada defendant, Matthew Ryba, and Respondent
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                                                                1 Melinda Beverly (“Ms. Beverly”).          Instead, Respondents’ counsel (“Mr.
                                                                2 Shelton”) emailed my Associate (“Mr. Moser”) on November 24, 2020, at

                                                                3 which time he provided a document dump of unresponsive pleadings from Ms.

                                                                4 Beverly’s divorce and equalization proceedings, which he was specifically

                                                                5 informed, on more than one occasion, Movant did not want, and which the

                                                                6 subpoenas at issue herein clearly did not request.

                                                                7         6.   To his credit, Mr. Shelton did provide his firm’s Custodian of
                                                                8 Records Affidavit in his November 24, 2020, email, as directed by the Court.

                                                                9         7.   Then, on November 30, 2020, Mr. Shelton again emailed Mr.
                                                               10 Moser and provided what he represented to be a complete production by Ms.

                                                               11 Beverly, including her own Custodian of Records Affidavit.      However, the
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                                                               12 only documents provided at that time were (1) the same document dump of
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 divorce and equalization court filings and (2) an email with text message
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14 attachment that Mr. Moser had previously provided to Mr. Shelton when

                                                               15 explaining that Movant had not received, but expected to receive, much more

                                                               16 that Mr. Shelton had previously represented to me did exist.

                                                               17         8.   To this day, Respondents have yet to produce any of the
                                                               18 attachments to the emails between Nevada defendant Matthew Ryba and Ms.

                                                               19 Beverly’s prior counsel, Carrie Fogelsong, Esq., which emails Mr. Shelton

                                                               20 provided to Mr. Moser on October 8, 2020. Those attachments are represented

                                                               21 in those emails to include, without limitation, W-2s and Schedule K-1s for

                                                               22 Movant’s former key employees, who are defendants in the Nevada action, as

                                                               23 well as various subcontracts and change orders from Mr. Ryba.

                                                               24         9.   In short, Respondents have effectively waived responsive
                                                               25 documents in Movant’s face but, despite Movant’s subpoenas and subsequent

                                                               26 efforts, and despite this Court’s direct order, Respondents continue their
                                                               27 refusal to comply with either.

                                                               28 / / /
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                                                                1        10.     The Court “must calculate awards for attorneys’ fees using the
                                                                2 ‘lodestar’ method, and the amount of that fee must be determined on the facts

                                                                3 of each case.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir.

                                                                4 2008) (citations and internal quotation marks omitted).        “The ‘lodestar’ is
                                                                5 calculated by multiplying the number of hours the prevailing party reasonably

                                                                6 expended on the litigation by a reasonable hourly rate.” Id. (citing Ferland v.

                                                                7 Conrad Credit Corp., 244 F.3d 1145, 1149 n. 4 (9th Cir. 2001) (per curiam)

                                                                8 (citation and internal quotation marks omitted)).      The result of the lodestar
                                                                9 computation is “presumptively reasonable.”         Cunningham v. Cty. of Los
                                                               10 Angeles, 879 F.2d 481, 484 (9th Cir. 1988) (citations omitted). The Court may,

                                                               11 however, adjust the presumptive amount based on other factors. See Morales
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                                                               12 v. City of San Rafael, 96 F.3d 359, 364 (9th Cir. 1996), opinion amended on
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 denial of reh’g, 108 F.3d 981 (9th Cir. 1997) (listing factors).
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14        11.     Based on the governing law, the facts giving rise to Movant’s
                                                               15 Motion, and the foregoing update of events that have transpired since this

                                                               16 Court’s Order was issued, I respectfully submit that Movant should recover all

                                                               17 fees incurred relating to its subpoenas.

                                                               18        12.     True, accurate, and authentic copies of my firm’s invoices for the
                                                               19 time incurred on this matter, since January 2019, when the subpoenas were

                                                               20 issued, are attached hereto as Exhibit 1, redacted or with pages removed to

                                                               21 omit entries not relevant to the instant dispute and to protect attorney-client

                                                               22 privileged content or sensitive attorney work product relating to the on-going

                                                               23 Nevada action.

                                                               24        13.     Since serving the subpoenas upon Respondents on January 23,
                                                               25 2020, and through December 23, 2020, Movant incurred approximately 78.1

                                                               26 hours, amounting to $22,290.00 in attorney’s fees in various action including,
                                                               27 without      limitation, telephone discussions and email exchanges with
                                                               28 Respondents’ counsel attempting to obtain Respondents’ cooperation and
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                                                                1 compliance, legal research, and drafting the instant motion and related

                                                                2 pleadings and filings.

                                                                3         14.     Movant’s attorney’s fees can be broken down as follow: 22.3
                                                                4 hours for myself, for $7,247.50 in fees; 7.2 hours for Mr. Mounteer, for

                                                                5 $2,340.00 in fees; 33.2 hours for Mr. Moser, for $9,130.00 in fees; and 11.7

                                                                6 hours for Mr. Jayne, for $2,925.00 in fees.

                                                                7         15.     Work on the instant Motion was also assigned to MAC’s paralegal
                                                                8 when possible to reduce the amount of fees incurred, and her time totaled 3.7

                                                                9 hours, for a total of $647.50 in fees for our paralegal’s time.

                                                               10         16.     I respectfully submit that all of this time is and was reasonable and
                                                               11 necessarily incurred, for the work performed.
MARQUIS AURBACH COFFING




                                                               12         17.     MAC is AV rated by Martindale-Hubbell and is listed in
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 Martindale-Hubbell’s registry of Preeminent Lawyers.
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14         18.     I am a Shareholder with MAC, and I earned my Juris Doctor from
                                                               15 Southwestern Law School. Prior to joining MAC, I was a law clerk to the

                                                               16 Honorable Justice Nancy M. Saitta of the Nevada Supreme Court.                   I am
                                                               17 admitted to practice law in both California and Nevada, and my practice

                                                               18 primarily includes general civil and commercial litigation.

                                                               19         19.     Cody S. Mounteer, Esq. (“Mr. Mounteer”) is also a Shareholder
                                                               20 with MAC and was responsible for some of the legal services provided in this

                                                               21 matter.       Mr. Mounteer has an extensive background in the construction
                                                               22 industry and has represented a number of the nation’s largest builders in his 12-

                                                               23 year career as an attorney in Nevada.         He has been named in lists of top
                                                               24 attorneys including the Mountain States Rising Stars, Nevada Business’s Legal

                                                               25 Elite, and the Best Lawyers in America for commercial litigation, and he has

                                                               26 also been recognized for his pro-bono activities by the Southern Nevada Pro
                                                               27 Bono project.

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                                                                1        20.   Jared M. Moser, Esq. (“Mr. Moser”) is an Associate Attorney with
                                                                2 MAC and was responsible for some of the legal services provided in this

                                                                3 matter. Mr. Moser began practicing law in Hawaii in 2011 before he returned

                                                                4 to Las Vegas in 2012, where he began serving as law clerk to the Honorable

                                                                5 Nancy L. Allf in the Eighth Judicial District Court of Nevada, during which

                                                                6 clerkship Mr. Moser was also admitted to practice law in Nevada courts, in

                                                                7 2013. After his clerkship with Judge Allf, Mr. Moser went on to clerk for the

                                                                8 Honorable Johnnie B. Rawlinson of the U.S. Court of Appeals for the Ninth

                                                                9 Circuit and is now licensed to practice in the Federal District Court for the

                                                               10 District of Nevada as well as in the Ninth Circuit Court of Appeals.           Mr.
                                                               11 Moser’s practice primarily includes general civil and commercial litigation and
MARQUIS AURBACH COFFING




                                                               12 appellate practice, and he has authored in, and contributed to, local and
                          (702) 382-0711 FAX: (702) 382-5816




                                                               13 national legal publications.
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                               14        21.   Collin M. Jayne, Esq. (“Mr. Jayne”) is an Associate Attorney at
                                                               15 MAC, and he has been licensed with the State Bar of Nevada since 2015. His

                                                               16 peers have recognized him in Nevada Business Magazine as Legal Elite and as

                                                               17 the most Up and Coming Lawyer in Las Vegas for 2019. Prior to joining

                                                               18 MAC, Mr. Jayne had the honor of serving for two years as a law clerk to the

                                                               19 Honorable Judge Adriana Escobar in the Eighth Judicial District Court.

                                                               20        22.   Upon information and belief, standard hourly rates for
                                                               21 Shareholders in the Las Vegas legal community for firms of comparable size

                                                               22 and experience range between $300–$1,000/hour, and standard hourly rates for

                                                               23 Associates range between $225–$400/hour, so mine and my colleagues’ rates

                                                               24 are actually below the industry average.

                                                               25        Dated this 20th day of January, 2021.
                                                               26
                                                                                                         By      /s/ Chad F. Clement
                                                               27
                                                                                                              Counsel for Movant, Interior
                                                               28                                             Electric Incorporated Nevada
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                                                                1                         CERTIFICATE OF SERVICE
                                                                2        I   hereby   certify   that    I   electronically   filed   the   foregoing
                                                                3 DECLARATION IN SUPPORT OF MOVANT’S REQUEST FOR

                                                                4 ATTORNEY’S FEES RELATING TO MOTION TO COMPEL [ECF

                                                                5 NO. 1] with the Clerk of the Court for the United States District Court by using

                                                                6 the court’s CM/ECF system on the 20th day of January, 2021.

                                                                7              I further certify that some of the participants in the case are not
                                                                8 registered CM/ECF users. I have mailed the foregoing document by First-Class

                                                                9 Mail, postage prepaid, or have dispatched it to a third-party commercial carrier

                                                               10 for delivery within 3 calendar days to the following non-CM/ECF participants:

                                                               11
MARQUIS AURBACH COFFING




                                                                                      Schiff & Shelton, Attorneys at Law, and
                                                               12                                Melinda Beverly
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                              c/o Ralph Shelton, Esq.
                                                               13                         3400 Campus Drive, Suite 202
                                Las Vegas, Nevada 89145
                                 10001 Park Run Drive




                                                                                             Newport Beach, CA 92660
                                                               14
                                                                               Attorney for the Subpoenaed Parties, Schiff & Shelton,
                                                               15                    Attorneys at Law, and for Melinda Beverly
                                                               16

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                                                               18

                                                               19                                  /s/ Lennie Fraga
                                                                                                  an employee of Marquis Aurbach Coffing
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